        Case 3:17-cv-00796-RDM Document 41 Filed 09/05/18 Page 1 of 11



                         UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JEREMY CIENIAWA                           :
                                          :      No. 3:17-CV-0796
              v.                          :
                                          :      Hon. Robert D. Mariani
TROOPER BRIAN PALL, et al.                :


                                         ORDER


       AND NOW, this _____________ day of ____________, 2018, upon consideration of

Defendants, Trooper Brian Pall, Trooper Michael Foux, Trooper Larry McDaniel, Officer

Christopher Zukowsky, and Captain David Douglas’s Motion for Summary Judgment, and

Plaintiff, Jeremy Cieniawa’s Response in Opposition thereto, it is hereby ORDERED and

DECREED that:

       1.     Trooper Douglas is DISMISSED from this action without prejudice;

       2.     Plaintiff’s prayer for compensation for emotional damages is DISMISSED

              without prejudice; and,

       3.     The remainder of Defendants’ Motion for Summary Judgment is DENIED.


                                          BY THE COURT:


                                          ____________________________________
                                          Hon. Robert D. Mariani, U.S.D.J.
        Case 3:17-cv-00796-RDM Document 41 Filed 09/05/18 Page 2 of 11



                          UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JEREMY CIENIAWA                             :
                                            :      No. 3:17-CV-0796
               v.                           :
                                            :      Hon. Robert D. Mariani
TROOPER BRIAN PALL, et al.                  :


         PLAINTIFF, JEREMY CIENIAWA’S RESPONSE IN OPPOSITION TO
              DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Incorporating by reference Plaintiff, Jeremy Cieniawa’s attached Memorandum of Law in

Opposition to Defendants’ Motion for Summary Judgment, as well as Plaintiff’s Response to

Defendants’ Statement of Undisputed Material Facts and Plaintiff’s Statement of Material and

Disputed Facts, Plaintiff respectfully requests this Honorable Court deny Defendants’ Motion

and enter Plaintiff’s proposed Order.

       WHEREFORE, Plaintiff, Jeremy Cieniawa, by and through his undersigned counsel,

respectfully requests this Honorable Court deny Defendants’ Motion and enter Plaintiff’s

proposed Order.

                                                   Respectfully submitted,

                                                   WEISBERG LAW

                                                   /s/ Matthew B. Weisberg
                                                   Matthew B. Weisberg, Esquire
                                                   L. Anthony DiJiacomo, III, Esquire
                                                   Attorneys for Plaintiff
         Case 3:17-cv-00796-RDM Document 41 Filed 09/05/18 Page 3 of 11



                            UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JEREMY CIENIAWA                                  :
                                                 :       No. 3:17-CV-0796
                 v.                              :
                                                 :       Hon. Robert D. Mariani
TROOPER BRIAN PALL, et al.                       :


             PLAINTIFF, JEREMY CIENIAWA’S MEMORANDUM OF LAW
             IN SUPPORT OF PLAINTIFF’S RESPONSE IN OPPOSITION TO
                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        Plaintiff, Jeremy Cieniawa, by and through his undersigned counsel, hereby provides his

Memorandum of Law in Support of Plaintiff’s Response in Opposition to Defendants’ Motion

for Summary Judgment.

I.      PLAINTIFF’S RESPONSE TO DEFENDANTS’ STATEMENT OF UNDISPUTED MATERIAL
        FACTS.

        Plaintiff, Jeremy Cieniawa, by and through his undersigned counsel, respectfully

incorporates his Response to Defendant’s Statement of Undisputed Material Facts (“Defend.

Stat.”), filed concurrently, as if set forth at length herein.

II.     PLAINTIFF’S STATEMENT OF MATERIAL FACTS.

        Plaintiff, Jeremy Cieniawa, by and through his undersigned counsel, respectfully

incorporates his Statement of Material Facts (“Plain. Stat.”), filed concurrently, as if set forth at

length herein.

II.     ARGUMENT

        A.       STANDARD FOR MOTION FOR SUMMARY JUDGMENT.

        The purpose of summary judgment is to avoid a pointless trial in cases where it is

unnecessary and would only cause delay and expense. See Goodman v. Mead Johnson &

Co., 534 F.2d 566, 573 (3d Cir.1976), cert. denied, 429 U.S. 1038 (1977). When considering a
         Case 3:17-cv-00796-RDM Document 41 Filed 09/05/18 Page 4 of 11



motion for summary judgment, this Court shall grant such motion “if the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits, if any, show that

there is no genuine issue as to any material fact and that the moving party is entitled to a

judgment as a matter of law.” Fed.R.Civ.P. 56(c) (emphasis added).

        Initially, the moving party has the burden of demonstrating the absence of a genuine issue

of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once the moving party has

met this burden, the nonmoving party must identify, by affidavits or otherwise, specific facts

showing that there is a genuine issue for trial. Id. Thus, to withstand a properly supported

motion for summary judgment, the nonmoving party must identify specific facts and affirmative

evidence that contradict those offered by the moving party. Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 256-57 (1986); see also Trap Rock Indus., Inc. v. Local 825, Int'l Union of Operating

Eng'rs, 982 F.2d 884, 890 (3d Cir.1992) (“A nonmoving party may not ‘rest upon mere

allegations, general denials or ... vague statements ....”) (citations omitted).

        In deciding the merits of a party's motion for summary judgment, the court's role is not to

evaluate the evidence and decide the truth of the matter, but to determine whether there is a

genuine issue of material fact for trial. Anderson, 477 U.S. at 249. Credibility determinations are

the province of the factfinder. Big Apple BMW, Inc. v. BMW of N. Am., Inc., 974 F.2d 1358,

1363 (3d Cir.1992). When reviewing a motion for summary judgment, this Court should resolve

all reasonable doubts and inferences in favor of the nonmoving party. Matsushita Elec. Indus.

Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

        The inquiry into whether a “genuine issue” of material fact exists has been defined by the

Supreme Court as whether “the evidence is such that a reasonable jury could return a verdict for
         Case 3:17-cv-00796-RDM Document 41 Filed 09/05/18 Page 5 of 11



the nonmoving party.” Anderson, 477 U.S. at 248. A fact is “material” if, under the governing

substantive law, a dispute about the fact might affect the outcome of the suit. Id.

       “Summary judgment is proper if there is no genuine issue of material fact and if, viewing

the facts in the light most favorable to the non-moving party, the moving party is entitled to

judgment as a matter of law.” Pearson v. Component Tech. Corp., 247 F.3d 471, 482 n. 1 (3d

Cir.2001) (citing Celotex Corp., 477 U.S. at 322); accord Fed.R.Civ.P. 56(c).

       Here, Summary Judgment on Count I, Excessive Force / Assault & is not appropriate due

to genuine issues of material facts. See Plain. Stat.; see also Plaintiff’s Response to Defend. Stat.

       B.      GENUINE ISSUES OF MATERIAL FACT CONCERNING THE EXTENT
               TO WHICH DEFENDANTS USED EXCESSIVE FORCE ON PLAINTIFF
               PRECLUDE SUMMARY JUDGMENT IN THIS MATTER.

       Genuine issues of material fact concerning the extent to which Defendants, Pall, Foux,

McDaniel, and Zukowsky used excessive force on Plaintiff precludes summary judgment in this

matter. See Plain. Stat.; see also Plaintiff’s Response to Defend. Stat. See also Celotex

Corp., 477 U.S. at 323; Pearson, 247 F.3d at 482 n. 1; accord Fed.R.Civ.P. 56(c). Although

Defendants allege that their use of force was reasonable under the circumstances, the basis of

their conclusion is based exclusively on disputed facts. It is well settled that the existence of

disputed and material facts underlying the use of excessive force requires the reasonableness of

the use of excessive force to be submitted to a jury. Curley v. Klem, 298 F.3d 271, 278 (3d Cir.

2002). See also Sharrar v. Felsing, 128 F.3d 810, 828 (3d Cir. 1997); see also Karnes v.

Skrutski, 62 F.3d 485, 499 (3d Cir. 1995). Likewise, it is not appropriate for this Honorable

Court to make credibility determinations, but instead, must submit such determinations to a jury.

See Anderson, 477 U.S. at 249. Big Apple BMW, Inc., 974 F.2d at 1363.
        Case 3:17-cv-00796-RDM Document 41 Filed 09/05/18 Page 6 of 11



       Here, the following genuine issues of material fact concerning the extent to which

Defendants, Pall, Foux, McDaniel, and Zukowsky used excessive force on Plaintiff, and the

circumstances thereof, preclude summary judgment in this matter:

       1.     Whether Defendant, Pall repeatedly slammed the police cruiser door on Plaintiff’s

              previously-injured leg. Plaintiff contends that Defendant, Pall repeatedly slammed

              the police cruiser door on Plaintiff’s leg. See Exhibit A, 21:12-21:16. Conversely,

              Defendant, Pall testified that he placed Plaintiff in the police cruiser, seemingly

              without slamming the police cruiser door on Plaintiff. See Exhibit C, 22:16-22:18.

       2.     The extent to which Defendant, Pall used excessive force in the rear of the

              original police cruiser. Plaintiff contends that Defendant, Pall punched Plaintiff in

              the face three to four times. See Exhibit A, 22:5-22:7; 23:1-23:20. Conversely,

              Defendant, Pall testified that he smacked Plaintiff multiple times. See Exhibit G to

              Defendants’ Motion. See also Exhibit B, Page 14.

       3.     The extent to which Plaintiff fled from the original police cruiser. Plaintiff

              contends that he only exited the police cruiser (after being punched in the face

              several times) in order to place pressure on his re-injured leg before being tackled

              to the ground. See Exhibit A, 24:12-24:14; 25:1-25:16. Conversely, Defendants,

              Pall and Foux contend that Plaintiff attempted to flee the large parking lot,

              running across the parking lot, on foot. See Exhibit B, Pages 9, 14.

       4.     Whether Plaintiff bit Defendant, Zukowsky. Defendant, Zukowsky contends that

              Plaintiff bit him. See Exhibit B, Page 12. Conversely, Plaintiff denies biting

              Defendant, Zukowsky. See Exhibit A, 32:9-32:13.
        Case 3:17-cv-00796-RDM Document 41 Filed 09/05/18 Page 7 of 11



       5.      Whether Defendants, Pall, Foux, McDaniel, and Zukowsky used excessive force

               after Plaintiff was taken out of the original police cruiser. Plaintiff contends that

               Defendants, Pall, Foux, McDaniel, and Zukowsky kicked Plaintiff repeatedly

               while one of them hit Plaintiff repeatedly on the back with a flashlight. See

               Exhibit A, 25:24-26:5. Conversely, Defendants, Pall, Foux, McDaniel, and

               Zukowsky deny that they kicked or hit Plaintiff. See Def. Resp. to Plain. Stat., ¶

               20. See also Exhibit H to Defendants’ Motion.

       Notably, the video evidence, which mostly provides only a partial audio account of the

incident, does not exclusively provide evidence to clarify the above genuine disputes of material

facts. See Exhibit D to Defendants’ Motion.

       Further, when applying the appropriate standard - viewing the facts in the light most

favorable to the non-moving party – Defendants, Pall, Foux, McDaniel, and Zukowsky’s actions

were unreasonable and constitute excessive force in violation of Plaintiff’s constitutional rights.

When accepting the facts in the light most favorable to the nonmoving party, Defendants, Pall,

Foux, McDaniel, and Zukowsky kicked and beat Plaintiff with a flashlight because – apparently

in their minds – Plaintiff was not being sufficiently cooperative. See Exhibit A, 25:24-26:5.

Likewise, Defendant, Pall punched Plaintiff in the face because – apparently in his mind –

Plaintiff would not move his leg into the vehicle. See Exhibit A, 22:5-22:7; 23:1-23:20. See also

Exhibit B, Pages 9, 14. At no time have Defendants alleged they were in danger or that Plaintiff

had a weapon. Under these circumstances – in applying the appropriate standard – the force used

was unnecessary, vastly excessive, and a violation of Plaintiff’s Constitutional rights.
         Case 3:17-cv-00796-RDM Document 41 Filed 09/05/18 Page 8 of 11



        Due to the numerous genuine issues of material fact concerning the extent to which

Defendants, Pall, Foux, McDaniel, and Zukowsky used excessive force on Plaintiff, and the

circumstances thereof, this Honorable Court must deny Defendants’ Motion for Summary

Judgment in this matter. See also Celotex Corp., 477 U.S. at 323; Pearson, 247 F.3d at 482 n. 1;

accord Fed.R.Civ.P. 56(c).

        C.      DEFENDANTS ARE NOT ENTITLED TO QUALIFIED IMMUNITY FOR
                THEIR USE OF FORCE AS THIS HONORABLE COURT MUST VIEW
                THE FACTS IN THE LIGHT MOST FAVORABLE TO THE NON-
                MOVING PARTY.

        Defendants, Pall, Foux, McDaniel, and Zukowsky are not entitled to Qualified Immunity

for their use of force as this Honorable Court must view the facts in the light most favorable to

the non-moving party. See Pearson, 247 F.3d at 482 n. 1 (citing Celotex Corp., 477 U.S. at

322); accord Fed.R.Civ.P. 56(c). See also, Kane v. Barger, 17-3027, 2018 WL 4000068, at *4

(3d Cir. Aug. 22, 2018). “Qualified immunity shields government officials from civil damages

liability unless the official violated a statutory or constitutional right that was clearly established

at the time of the challenged conduct.” See Kane, 17-3027, at *4. The Court is to conduct a two-

step inquiry to determine whether a government official is entitled to qualified immunity. “First,

we ask whether the facts—taken in the light most favorable to the nonmoving party—show that a

government official violated a constitutional right.” Id (citations omitted). “Second, we ask

whether that right was clearly established at the time of the official’s actions.” Id (citations

omitted). See Section B above for the first step of this analysis.

        “A clearly established right is one that is sufficiently clear that every reasonable official

would have understood that what he is doing violates that right.” See Kane, 17-3027, at *6.

        Here, when accepting the facts in the light most favorable to the nonmoving party,

Defendants, Pall, Foux, McDaniel, and Zukowsky kicked and beat Plaintiff with a flashlight
         Case 3:17-cv-00796-RDM Document 41 Filed 09/05/18 Page 9 of 11



because – apparently in their minds – Plaintiff was not being sufficiently cooperative. See

Exhibit A, 25:24-26:5. Likewise, Defendant, Pall punched Plaintiff in the face because –

apparently in his mind – Plaintiff would not move his leg into the vehicle. See Exhibit A, 22:5-

22:7; 23:1-23:20. See also Exhibit B, Pages 9, 14. At no time have Defendants alleged they were

in danger or that Plaintiff had a weapon. Under these circumstances – in applying the appropriate

standard – every reasonable officer would have understood that such a beating was unnecessary,

vastly excessive, and a violation of Plaintiff’s Constitutional rights. See Kane, 17-3027, at *6.

Accepting the facts and inferences therefrom in the light most favorable to Plaintiff, Defendants,

Pall, Foux, McDaniel, and Zukowsky are not entitled to Qualified Immunity and this Honorable

Court must deny Defendants’ Motion for Summary Judgment in this matter. See Pearson, 247

F.3d at 482 n. 1 (citing Celotex Corp., 477 U.S. at 322); accord Fed.R.Civ.P. 56(c). See also,

Kane, 17-3027, at *4-6.

IV.    CONCESSIONS

       Plaintiff respectfully withdraws his prayer for compensatory damages for the emotional

distress he endured as a result of the underlying incident.

       Plaintiff respectfully withdraws any claim against Trooper Douglas.

V.     CONCLUSION

       For the foregoing reasons, Plaintiff, Jeremy Cieniawa, by and through his undersigned

counsel, respectfully requests this Honorable Court deny Defendants’ Motion and enter

Plaintiff’s proposed Order.

       WHEREFORE, Plaintiff, Jeremy Cieniawa, by and through his undersigned counsel,

respectfully requests this Honorable Court deny Defendants’ Motion and enter Plaintiff’s

proposed Order.
Case 3:17-cv-00796-RDM Document 41 Filed 09/05/18 Page 10 of 11



                                  Respectfully submitted,

                                  WEISBERG LAW

                                  /s/ Matthew B. Weisberg
                                  Matthew B. Weisberg, Esquire
                                  L. Anthony DiJiacomo, III, Esquire
                                  Attorneys for Plaintiff
       Case 3:17-cv-00796-RDM Document 41 Filed 09/05/18 Page 11 of 11



                         UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JEREMY CIENIAWA                             :
                                            :       No. 3:17-CV-0796
              v.                            :
                                            :       Hon. Robert D. Mariani
TROOPER BRIAN PALL, et al.                  :


                                 CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 5th day of September, 2018, a

true and correct copy of Plaintiff’s Response in Opposition to Defendants’ Motion to Dismiss,

Plaintiff’s Memorandum of Law in support thereof, Plaintiff’s Response to Defendants’

Statement of Undisputed Material Facts, and Plaintiff’s Statement of Material Facts was served

via ECF upon the following party:

Daniel J. Gallagher, Esq.
Office of the Attorney General
Strawberry Squire, 15th Floor
Harrisburg, PA 17120

                                                    WEISBERG LAW

                                                    /s/ Matthew B. Weisberg
                                                    Matthew B. Weisberg, Esquire
                                                    L. Anthony DiJiacomo, III, Esquire
                                                    Attorneys for Plaintiff
